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1    Bradford K. Newman, State Bar No. 178902
      bradford.newman@bakermckenzie.com
2    BAKER & McKENZIE LLP
     600 Hansen Way
3    Palo Alto, CA 94304-1044
     Telephone: +1 650 856 2400
4    Facsimile: +1 650 856 9299

5    Christina M. Wong, State Bar No. 288171
      christina.wong@bakermckenzie.com
6    Brandon N. Lee, State Bar No. 335810
      brandon.lee@bakermckenzie.com
7    BAKER & McKENZIE LLP
     2 Embarcadero Center, Floor 11
8    San Francisco, CA 94111
     Telephone: +1 415 576 3000
9    Facsimile: +1 415 576 3099

10   Attorneys for Plaintiff
     DFINITY USA RESEARCH, LLC
11

12                             UNITED STATES DISTRICT COURT

13                          NORTHERN DISTRICT OF CALIFORNIA

14
     DFINITY USA RESEARCH, LLC, a               Case No. 5:22-cv-03732-EJD
15   limited liability company,
                                                PLAINTIFF DFINITY USA
16                    Plaintiff,                RESEARCH, LLC’S OPPOSITION TO
           vs.
17                                              DEFENDANT’S REQUEST FOR
     ERIC BRAVICK, an individual and DOES       JUDICIAL NOTICE IN SUPPORT OF
18   1 - 100, inclusive,                        MOTION TO DISMISS
19                                              Date:        January 26, 2023
                      Defendants.               Time:        9:00 a.m.
20                                              Ctrm.:       4, 5th Floor
                                                Judge:       The Hon. Edward J. Davila
21
                                                Removal of Action Filed: June 24, 2022
22                                              Santa Clara County Superior Court
                                                Case No. 22CV398321
23
                                                Complaint Filed: May 11, 2022
24

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        PLAINTIFF DFINITY USA RESEARCH, LLC’S OPPOSITION TO DEFENDANT’S REQUEST FOR
                       JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
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1           Plaintiff DFINITY USA RESEARCH, LLC respectfully requests that the Court deny

2    defendant Eric Bravick’s request to take judicial notice of Exhibits 1 and 2. The documents are

3    identified by Mr. Bravick as follows:

4                  Exhibit 1: October 4, 2021 email from Christopher Tarpley to Eric Bravick; and

5                  Exhibit 2: November 2, 2021 email from Bradford Newman to Eric Bravick.

6    Neither of the documents is subject to judicial notice and Mr. Bravick’s request for judicial

7    notice is an improper attempt to inject documents into the record that are outside of the

8    complaint on a motion to dismiss.

9           “[W]hen the legal sufficiency of a complaint’s allegations is tested by a motion under

10   Rule 12(b)(6), ‘review is limited to the complaint.’” Lee v. City of L.A., 250 F.3d 668, 688 (9th

11   Cir. 2001) (quoting Cervantes v. City of San Diego, 5 F.3d 1273, 1274 (9th Cir. 1993)).

12   Documents not physically attached to the complaint may only be considered if they are: (1)

13   subject to judicial notice or (2) if the documents’ “authenticity . . . is not contested” and “the

14   plaintiff’s complaint necessarily relies on them.” Id. (quoting Parrino v. FHP, Inc., 146 F.3d

15   699, 705-06 (9th Cir. 1998)) (a district court abused its discretion by taking judicial notice of

16   disputed matters of fact).

17          Under the Rules of Evidence, courts may only judicially notice facts that are not subject

18   to reasonable dispute because they (1) are generally known within the trial court’s territorial

19   jurisdiction or (2) can be accurately and readily determined from sources whose accuracy cannot

20   reasonably be questioned. Fed. R. Evid. 201. Documents subject to interpretation, like the

21   emails and communications Mr. Bravick seek to inject into the record through its request, are not

22   judicially noticeable. Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1000 (9th Cir. 2018)

23   (a court abused its discretion by judicially noticing an investor call transcript; “[i]t is improper to

24   judicially notice a transcript when the substance of the transcript ‘is subject to varying

25   interpretations, and there is a reasonable dispute as to what the [transcript] establishes’”).

26   Indeed, courts have expressly held that such communications are not subject to judicial notice

27   even if there is not a dispute over their authenticity. In re Apple Inc. Device Performance Litig.,

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          PLAINTIFF DFINITY USA RESEARCH, LLC’S OPPOSITION TO DEFENDANT’S REQUEST FOR
                         JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
       Case 5:22-cv-03732-EJD Document 19-1 Filed 08/05/22 Page 3 of 3



1    386 F.Supp.3d 1155, 1165 (N.D. Cal. 2019) (an email was not a proper subject of judicial notice

2    “because the meaning of the email is subject to reasonable dispute”); Lincoln Ben. Life Co. v.

3    Fundament, No. SA CV 18-0260-DOC (JDEx), 2018 U.S. Dist. LEXIS 139486, at *12 (C.D.

4    Cal. Aug. 7, 2018) (“Emails and letters between counsel and the parties are not documents or

5    information that are ‘generally known’ or that ‘can be accurately and readily determined from

6    sources whose accuracy cannot reasonably be questioned’”). Mr. Bravick’s request for judicial

7    notice of email correspondence, therefore, must be denied.

8            Mr. Bravick’s argument that the documents he submits are subject to judicial notice

9    because they are alluded to in the complaint is also incorrect as a matter of law and improperly

10   conflates judicial notice with principles of incorporation-by-reference. “Unlike rule-established

11   judicial notice, incorporation-by-reference is a judicially created doctrine that treats certain

12   documents as though they are part of the complaint itself.” Khoja, 899 F.3d at 1002. Plaintiff in

13   this case did not incorporate any of the documents submitted by Mr. Bravick by reference in the

14   complaint and did not extensively rely on any such documents. In any event, a motion for

15   judicial notice is not a proper mechanism by which to make these disputed documents part of the

16   complaint.

17           Mr. Bravick’s attempt to add evidence that is outside of Plaintiff’s complaint into the

18   record for purposes of a motion to dismiss is patently improper. Because the disputed

19   communications and emails the he seek to inject into the record are not subject to judicial notice

20   as a matter of law, Plaintiff respectfully request that this Court deny Mr. Bravick’s Request for

21   Judicial Notice in its entirety.
                                                BAKER & McKENZIE LLP
22    Dated: August 5, 2022                     Bradford K. Newman
                                                Christina M. Wong
23                                              Brandon N. Lee
24

25                                              By: /s/ Bradford K. Newman
                                                   Bradford K. Newman
26                                                 Attorneys for Plaintiff
                                                   DFINITY USA RESEARCH, LLC.
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          PLAINTIFF DFINITY USA RESEARCH, LLC’S OPPOSITION TO DEFENDANT’S REQUEST FOR
                         JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
